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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

 AFT MICHIGAN,

                     Plaintiff,                          Civil Case No. 17-13292
                                                         Honorable Linda V. Parker
 v.

 PROJECT VERITAS, et al

                     Defendant.
                                         /

                                        ORDER

       The Court held a telephonic status conference with the parties on March 8, 2018.

 For the reasons stated during the telephonic status conference,

       IT IS HEREBY ORDERED that the Defendants shall file a Motion to Stay

 Discovery, on or before the close of business on March 9, 2018.

      IT IS FURTHER ORDERED that the Plaintiff shall file a response to the

Defendants’ motion, on or before March 14, 2018.

      IT IS FURTHER ORDERED that the March 14, 2018, meeting to confer that

is referenced in Magistrate Judge Stafford’s Opinion and Order [ECF No. 48] is

STAYED and discovery shall not commence until after this Court makes a ruling on

the Defendants’ Motion to Stay Discovery.


                                               s/ Linda V. Parker
                                               LINDA V. PARKER
                                               U.S. DISTRICT JUDGE

Dated: March 8, 2018
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I hereby certify that a copy of the foregoing document was mailed to counsel of record
and/or pro se parties on this date, March 8, 2018, by electronic and/or U.S. First Class
mail.

                                               s/ R. Loury
                                               Case Manager
